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                     ATTACHMENT C. Photo of the Hill Cumorah, circa 1907, by G.E. Anderson




  The Hill Cumorah is about three miles southeast of the Smith farm in Palmyra, New York. In Joseph’s time the
north end was covered with grass, the south with scattered timber and forests. The plates were buried on the west
                              side, not far from the top. Photograph: August 1907



This photo is found on p. 7 of the LDS missionary tracting pamphlet provided by COP to its
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